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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

            Abbreviated Case Name                      Civil No.        Conference Time

            F.F. v. Capital BlueCross                1:23-CV-0484           9:00 AM

        Mendez v. Wadlinger, D.O. et al              4:23-CV-1452           9:15 AM

            E.J., et al v. Johnson, et al            3:23-CV-1636           9:30 AM

  McAndrew v. Northumberland County, et al           4:22-CV-0834           9:45 AM

             Beltrami v. Bissol, et al               3:23-CV-1351          11:00 AM

 Gordon, et al v. Home Depot U.S.A., Inc., et al     3:23-CV-2019          11:15 AM

        Smith v. Harrisburg Area YMCA                1:23-CV-1977          11:30 AM

       Fedder v. Bloomsburg University of            4:23-CV-1678           12:00 PM
                  Pennsylvania

   Menio v. Equitable Financial Life Ins., Co.       3:24-CV-0177           12:15 PM

  Gillow, Jr. v. The PA Dept of Transportation       3:23-CV-0521           12:30 PM




                                             ORDER

       AND NOW, this 13th day of March, 2024, in accordance with Federal Rule of Civil

Procedure 16(b) and Local Rule 16.1, IT IS HEREBY ORDERED that the previously set

case management list is revised as follow:

       1. Case Management List. The above cases will comprise the case management list
          for Monday, April 8, 2024.

       2. Conference of Counsel. In accordance with Local Rule 16.3(a), lead counsel
          shall confer and prepare for submission to the court a joint case management plan
          in the form attached to the Local Rules and designated “Appendix A.” The case
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   management for is available on the court’s website at
   http://www.pamd.uscourts.gov/forms/joint-case-management-plan-pdf-word.
   Counsel for plaintiff(s) shall be responsible for arranging the conference of
   counsel and shall offer opposing counsel at least three alternative dates with no
   less than fifteen (15) days’ notice. Counsel should also be familiar with the
   district’s “Expense and Delay Reduction Plan,” adopted on August 19, 1993, as
   required by the Civil Justice Reform Act of 1990, which is available on the
   court’s website at
   https://www.pamd.uscourt.gov/sites/pamd/files/forms/CJRA_1990.pdf.

3. Case Management Plans. At least five days before the conference, counsel shall
   file their joint case management plan with the court.

4. Operative Dates and Deadlines. The court will divide case management into
   two phases: a discovery and dispositive motions phase, and a trial phase. A
   separate case management order will issue at the beginning of each phase. For
   purposes of the joint case management plan, counsel shall endeavor to jointly
   agree on all applicable dates. If counsel cannot agree, each counsel shall propose
   applicable dates in conformity with the court’s calendar.

5. Date and Times of Conferences. Case management conferences will be held on
   the date and at the times designated above. Lead counsel who are fully
   authorized to make decisions in the case shall participate in the conference. If
   lead counsel wish to be excused from the from the conference, such counsel shall
   contact chambers and advise at least two working days before the conference.

6. Telephonic Conference. Unless the court orders otherwise, all case management
   conferences shall be held by telephone. Counsel for plaintiff(s) shall initiate the
   telephone conference to chambers at (570) 207-5740. At the time the place,
   counsel for all parties shall be on the line and prepared to proceed.

7. Magistrate Judge. If the parties consent that a United States Magistrate Judge
   conduct all subsequent proceedings in the case and enter a final judgment, they
   shall note in the case management plan or file the consent to proceed form.

8. Case Management Order. Any oral agreements reached by counsel and any oral
   orders or other additional directions issued by the court during the case
   management conference will be memorialized in a case management order. Once
   case management deadlines have been established, extension of those time
   periods will not be granted except for good cause.


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9. Continuance. Any request for continuance of the case management conference
   shall be made by motion in conformity with the Local Rules and shall be filed at
   least seven (7) days before the conference.

10. Discovery. Counsel shall not cease active discovery pending disposition of a
    motion to dismiss.

11. Alternate Dispute Resolution. Paragraph 8.0 of the Standard Joint Case
    Management Plan relates to alternative dispute resolution procedures. If the
    parties cannot agree upon an alternative dispute resolution procedure to be used,
    a decision with respect to the same will be made at the pretrial conference, and if
    at that conference any counsel objects to alternative dispute resolution, there will
    be none.


                                     BY THE COURT:

                                     /s/ Karoline Mehalchick
                                     KAROLINE MEHALCHICK
                                     United States Magistrate Judge




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